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                      EXHIBIT FF
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       8         Chief Probation Intervenor-Defendants
      9
 10                                    IN THE UNITED STATES DISTRICT COURTS
 11                                  FOR THE EASTERN DISTRICT OF CALIFORNIA
 12                                 AND .THE NORTHERN DISTRICT OF CALIFORNIA
 13                    UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
 14                          PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
 15
                RALPH        COLEMAN, et al.,                     Case No: CIV S-90-0520 LKK JFM P
 16
                                Plaintiffs,                       THREE-JUDGE COURT
 17
                       VS,
 1.8
               ARNOLD         SCHWARZENEGGER, et
 19            al.,
20                               Defendants.
21
                                                                  [F.R.C.P. 24; 18U.S.C. § 3626(a)(3)(F)]
22
                                                                 Case No.: C01-1351 TEH
23             MARCtANO          PLATA, et al.,
                                                                  THREE-JUDGE COURT
24                              Plaintiffs,
                                                                  INTERVENOR-DEFENDANT SAN
25                    VS.                                         BENITO COUNTY SHERIFF'S
                                                                  RESPONSES TO PLAINTIFFS' FIRST
26             ARNOLD         SCHWARZENEGGER, et                  SET OF INTERROGATORIES
               al.,
27
                                Defendants.
28

               INTERVENOR-DgFENDANT SAN BENITO COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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          PROPOUNDINGPARTIES:                     Plaintiffs, MARCIANO PLATA, et al.
      2   RESPONDING PARTY:                       Intervenor-Defendant, SAN BENITO COUNTY
      3                                           SHERIFF
      4   SET NUMBER:                             One (1)
      5            TO ALL PARTIES AND TO THEIR COUNSEL OF RECORD:
      6            Pursuant to Federal Rules ofCivil Procedure Rule 33, Intervenor-Defendant San
      7   Benito County Sheriff separately and fully responds to Plaintiffs' First Set of
      8   Interrogatories as follows:
      9                         Preliminary Statement and General Objections
 !0                 1.    Intervenor-Defendant has not completed investigation of the facts relating
 11       to this case, has not completed discovery in this action and has not completed preparation

 12-      for trial. Therefore, these responses, while based on diligent factual exploration, reflect
 13       only Intervenor-Defendant's current state of knowledge', understanding, and belief with
 14       regard to the matters about which inquiry has been made. Intervenor-Defendant reserves
 15       the right to supplement, these responses with subsequently obtained or discovered
 16       information. With regard to each interrogatory; Intervenor-Defendant reserves the right,
 17       notwithstanding these answers and responses, to employ at trial or in any pretrial
 18       proceeding herein, information subsequently obtained or discovered, information the
 19       materiality of which is not presently ascertained, or information Intervenor-Defendant
 20       does not regard as coming within the scope of the interrogatories as Intervenor-Defendan
 21       understands them.
 22                2.     These responses are made solely for the' purpose of this action. Each
 23       answer    is subject to all objections as to competence, relevance, materiality, propriety,
 24       admissibility, privacy, privilege, and any and all other objections that would require
25        exclusion of any statement .contained herein if any such interrogatories were asked of, or
26        any statement contained herein if any such interrogatories were asked of, or any
27        statement contained herein were made by, a witness presentand testifying in-court, all of
28        which objections and grounds are reserved and may be interposed at the time of trial.
                                                            -2-
          INTERVENOR-DEFENDANT SAN BENITO COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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      1               3.   Except.for explicit facts admitted herein, no incidental or implied
      2    admissions are intended hereby. Intervenor-Defendant's answers or objections to any
      3    interrogatory are not an admission of any fact set forth or assumed by that interrogatory.
      4    In addition, each of Intervenor-Defendant's answers to an interrogatory or part of any
      5    interrogatory is nota waiver of part or all of any objection he might make to that
      6    interrogatory, or an.admission that. such answer or objection constitutes admissible
      7    evidence. Intervenor•Defendant asserts these objections without waiving or intending to
      8   waive any objections as to competency, relevancy, materiality or privilege.
                   4.     To the extent Intervenor-Defendant responds to these interrogatories, the
 !0       responses will not include information protected by the right of privacy. All objections
 11       on the grounds of constitutional and common law privacy rights are expressly preserved.

 t2               5.       Intervenor-Defendant objects.to each and every Interrogatory to the extent
 13       that Plaintiffs are requesting information that is neither relevant to the subject matter of
 14       this action nor reasonably calculated to lead to the discovery of admissible evidence.
 15               6.      Intervenor-Defendant objects to the Interrogatories to the extent that they
 16       are vague and ambiguous and do not include adequate definition, specificity, or limiting

 17       factors.
 18                  7.    Intervenor-Defendant objects to the Definitions provided by Plaintiffs and
 19       the term !'PERSON." The definition is vague, ambiguous, and overbroad as used in these
20        Interrogatories.
21                Subject to and without waiving the foregoing objections, and incorporating them
22        by reference into each of the responses provided below, Intervenor-Defendant hereby
23        responds as follows:
24        INTERROGATORY NO. 1
25               From January 1, 1995 until the present, have any limit(s) been in place,                 the
                                                                                                     as
26        result of any lawsuit, on the number of people that can be housed in
                                                                                         any jail operated
27        and/or maintained by YOU? If so:
28                         (a)    State the name, date and case number of every case which resulted             ir•
                                                            -3-                                                    /
          INTERVENOR-DEFENDANT SAN BENITO COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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          1    any such limit(s).
       2       RESPONSE TO INTERROGATORY NO. 1:
       3                 In addition to the General Objections stated above, Intervenor-Defendant objects
       4      to this interrogatory on the grounds that it is vague, ambiguous and overbroad; to the
       5      extent that it seeks information not relevant to this litigation nor reasonably calculated to
      6       lead to the discovery of admissible evidence.
      7               Without waiving and subject to the objections, Intervenor-Defendant responds that
      8       from January 1, 1995 Until present, no limits have been in place on the number ofpe0ple
      9       that can be housed in any jail operated and/or maintained by Intervenor-Defendant.
  10          INTERROGATORY NO. 2:
  ll                     In any instance, from January       1, 1995 until the present, in whichany limit(s) have
  12          been in place on the number of people that can be housed in any jail operated and/or
 13           maintained by YOU, what mechanisms were used to comply with those limits?
 14                            (a)     Identify all DOCUMENTS which relate to YOUR answer.
 15                            (b)     Identify.all PERSONS whom YOU believe or suspect have
 16           information to support YOUR          answer.

 17           RESPONSE TO INTERROGATORY NO. 2:
 18                     In addition to the General Objections stated above, Intervenor-Defendant objects
 19           to this interrogatory    on   the grounds that it is vague, ambiguous and overbroad; to the
 20           .extent that it seeks   information not relevant to this litigation nor reasonably calculated to
 21           lead to the discovery of admissible evidence.
 22                     Without waiving and subject to the objections, Intervenor-Defendant responds thai
 23           fi'om January 1, 1995 until present, the San B enitb jail is mandated by the Corrections
24            Standards Authority       to maintain a board     rated capacity of 142 inmates.
25                      (a)Synopsis of the Biannual Board of Corrections review dated February 4,
26            2008 and the San Benito County Jail Manual (Revision 2002) section 317.
27                  (b) Barbara Fenton.
28
                                                                  -4-
              INTERVENOR-DEFENDANT SAN BENITO COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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      1    INTERROGATORY NO. 3i
      2             From January    1, 1995 until present, how many people have had their releases from
      3    any jail operated and/or maintained by YOU accelerated as a result of any limit(s)placed
      4    on   the number of people that can be housed in that jail?
      5                    (a)     Identify all DOCUMENTS which relate to YOUR answer.
      6                    (b)     Identify all PERSONS whom YOU believe or suspect have
      7    information to support YOUR        answer.

      8   RESPONSE TO INTERROGATORY NO. 3:
      9            In addition to the GeneralObjections stated above, Intervenor-Defendant objects
 !0       to this interrogatory onthe grounds that it is vague, mnbiguous and overbroad; to the

 11       extent that it seeks information not relevant to this litigation nor reasonably calculated to

 12       lead to the discovery of admissible evidence.
 13               Without waiving and subject to the objections, Intervenor-Defendant responds tha
 t4,      from January 1, 1995 until present, 1620 inmates have had their release accelerated as a
 15       result of exceeding the board rated capacity.
 16               (a)     Synopsis of the CSA Monthly Jail Profile Survey.
 17               (b) Peg Symonik.
 18       INTERROGATORY NO. 4:
 19                What ALTERNATIVE PLACEMENT                     PROGRAMs have been in existence, frorr
20        January 1, 1995 until present, in any county in which YOU operate and/or maintain a
21        jail?
22                        (a)      For each such program, describe the mission and/or purpose of the
23        placement program.
24                     (b) For each such program, identify what criteria are used to decide who
25        may enter the program.
26                        (c)      Identify all DOCUMENTS which relate to YOUR answer.
27                        (d)      Identify all PERSONS whom YOU believe or suspect have
28        information to support YOUR        answer.

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          INTERVENOR-DEFENDANT SAN BENITO COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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           RESPONSE TO INTERROGATORY NO. 4:
      2               In addition to the General Objections stated above, Intervenor-Defendantobjects
      3    to this interrogatory on the grounds that it is vague, ambiguous and overbroad; to the
      4    extent that it seeks information not relevant to this litigation nor reasonably calculated to

      5    lead to the discovery of admissible evidence.
      6            Without waiving and subject to the objections, Intervenor-Defendant responds that
      7    from January 1, 1995 until present, the county has utilized a Work Alternative Program.
      8              (a)     The Work Alternative Program allows inmates to complete their
      9    commitment outside the jail facility.
 10              (b) Participants pay for the administrative costs of the program. Eligibility
 11       requirements include a maximum 30 day sentence, recommendation by the sentencing
 12       court, and a misdemeanor conviction.
 13                  (c)     San Benito County Sheriff's Office Jail Manual section 725.
 14                  (d)     Lieutenant Edward Escamilla.
 15
 16       DATED:           April 11, 2008                 Respectfully submitted,
                                                          JONES & MAYER
 17
 18
 19
                                                          By:
20
                                                                  Attorneys for Sheriff, Probation, Police
                                                                  Chief, and Corrections Intervenor-
21
                                                                  Defendants

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          INTERVENOR-DEFENDANT SAN BENITO COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
